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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: NATIONAL FOOTBALL LEAGUE No. 2:12-md-02323-AB
 PLAYERS’ CONCUSSION INJURY LITIGATION MDL No. 2323

 Kevin Turner and Shawn Wooden, on behalf
 of themselves and others similarly situated,
                                            Plaintiffs,
              v.
 National Football League and NFL Properties, LLC,
 successor-in-interest to NFL Properties, Inc.,
                                          Defendants.

 THIS DOCUMENT RELATES TO:

 Pope McGlamry PC v. Edward King
 Attorney Lien Dispute
 (Doc. No. 6856)


                           REPORT AND RECOMMENDATION

DAVID R. STRAWBRIDGE
UNITED STATES MAGISTRATE JUDGE                                               February 4, 2019

       Before the Court for Report and Recommendation is a Petition to Establish Attorney’s Lien

(“Lien”) seeking attorney’s fees and costs from any Monetary Claim to be paid to Settlement Class

Member Edward E. King (“King”), which was filed on June 30, 2016 by Pope, McGlamry,

Kilpatrick, Morrison & Norwood, P.C. (“Pope McGlamry”). (Doc. No. 6856). On March 1, 2018,

the Claims Administrator issued a Notice of Lien to Mr. King’s current counsel – Berkowitz and

Hanna LLC (“Berkowitz”). On September 19, 2018, the Claims Administrator issued a Notice of

Monetary Award Claim Determination.

       The District Court referred all Petitions for individual attorney’s liens to this Court. (Doc.

No. 7746). Rules Governing Attorneys’ Liens (“Rules”) were adopted on March 6, 2018 and
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amended on October 3, 2018.          (Doc. Nos. 9760 and 10283).          Accordingly, the Claims

Administrator has referred the Lien Dispute and the Withdrawal to this Court for Report and

Recommendation.

       Pursuant to Rule 24, the Parties submitted a Withdrawal of Attorney’s Lien Dispute (the

“Withdrawal”).1 The signed agreement clearly indicates the percentage of the Award that each

law firm and the Settlement Class Member will receive and sets forth an agreement as to how to

disburse any portion of the 5% holdback that may be released in the future. Upon review of the

Withdrawal, the contingency fee agreement, the list of itemized costs submitted by Berkowitz, and

in consideration of the Presumptive Fee Cap imposed by the District Court (Doc. No. 9863), we

conclude that Berkowitz is entitled to the costs asserted. We further conclude that the fees to be

paid to each firm is reasonable, and collectively within the percentage allowed under the 22%

Presumptive Fee Cap.

       Accordingly, we conclude that the Withdrawal shall be granted, and the Claims

Administrator is ordered to distribute the attorneys’ fees and costs to Berkowitz, the attorneys’

fees to Pope McGlamry, and the refund to King, as was set forth in the Withdrawal.2




1
  Berkowitz signed its copy of the withdrawal on December 5, 2018. Pope McGlamry signed its
on January 18, 2019.
2
   Pursuant to the Court’s Order Regarding Withholdings for Common Benefit Fund (Doc. No.
10104), 5% of the Award is currently being held in the Attorney’s Fees Qualified Settlement Fund,
where it must remain until further order of the Court. The Claims Administrator will ensure that
if any portion of those funds are later released they will be paid pursuant to the agreed terms in the
Withdrawal.
                                                   2
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                                     RECOMMENDATION

       AND NOW, this 4th day of February, 2019, it is respectfully RECOMMENDED that

the withdrawal of lien dispute be GRANTED and the Claims Administrator be ordered to

distribute the attorneys’ fees and costs as is set forth in the Withdrawal submitted by the Parties.

       The Parties may file objections to this Report and Recommendation. See Rule 25(d).




                                                      BY THE COURT:



                                                      /s/ David R. Strawbridge, USMJ
                                                      DAVID R. STRAWBRIDGE
                                                      UNITED STATES MAGISTRATE JUDGE




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                IN THE UNITED STATES DISTRICT COURT FOR THE
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  IN RE: NATIONAL FOOTBALL LEAGUE No. 2:12-md-02323-AB
  PLAYERS’    CONCUSSION    INJURY MDL No. 2323
  LITIGATION

  Kevin Turner and Shawn Wooden, on behalf
  of themselves and others similarly situated,
                               Plaintiffs,
               v.
  National Football League and NFL
  Properties, LLC, successor-in-interest to NFL
  Properties, Inc.,
                               Defendants.

  THIS DOCUMENT RELATES TO:

  Pope McGlamry PC v. Edward King
  Attorney Lien Dispute
  (Doc. No. 6856)



                                             ORDER

       AND NOW, this         day of                , 2019, upon consideration of the Report and

Recommendation of United States Magistrate Judge David R. Strawbridge (ECF No. _______),

and no objection having been docketed, it is ORDERED that:

       1.     The Report and Recommendation is ADOPTED;

       2.     The Withdrawal of the Lien Dispute is GRANTED; and

       3.     The Claims Administrator is ORDERED to disburse the withheld funds in

accordance with this decision, the provisions of the Settlement Agreement, and all Court Orders

regarding implementation.
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                                   BY THE COURT:




                                   ANITA B. BRODY, J.




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